Case 1:21-cv-10385-CPO-MJS Document 13 Filed 11/12/21 Page 1 of 2 PageID: 148
 Case 1:21-cv-10385-RBK-MJS Document 11-2 Filed 11/12/21 Page 1 of 2 PagelD : 123


                                                                         [Ooe, . fJ o,   {I]
  THE ATKIN FIRM, LLC
  Formed in the State ofNew Jersey
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  Attorneys for Plaintiff Strike 3 Holdings, LLC


                      UNITED ST A TES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


   STRIKE 3 HOLDINGS, LLC,
                                              CaseNo. l:21-cv-10385-RBK-MJS
                      Plaintiff,                                                ~<t,
                                                     [PROPOSED] ORDER
         V.



   JOHN DOE subscriber assigned IP
   address 96.248.100.147,

                      Defendant.



        THIS MATTER having been opened to the Court by John C. Atkin, Esq., on

  behalf of Plaintiff Strike 3 Holdings, LLC ("Plaintiff'), on a Motion for a second

  extension of time within in which to effectuate service of process in this matter,

  pursuant to Federal Rule of Civil Procedure 4(m) ("Motion"); it appearing that

  Defendant John Doe subscriber assigned IP address 96.248.100.14 7 ("Doe") has not

  yet been served in this matter and consents to the Motion, through their counsel,
Case 1:21-cv-10385-CPO-MJS Document 13 Filed 11/12/21 Page 2 of 2 PageID: 149
 Case 1:21-cv-10385-RBK-MJS Document 11-2 Filed 11/12/21 Page 2 of 2 PagelD : 124




  Peter George Mylonas, Esq. ; the Court having considered Plaintiffs written

  submissions in connection with the motion pursuant to Federal Rule of Civil

  Procedure 78, and for good cause shown,

        IT IS on this   /J.. fL day of    /JoV(.Mb<r        , 2021 ,

        ORDERED that Plaintiffs motion [ECF No. 11] is GRANTED; and

        IT IS FURTHER ORDERED that Plaintiff shall effectuate service of

  process in this matter within 60 days following the Court ' s decision on Doe ' s

  pending Motion to Quash/Compel/Enforce [D.E. 10].



                                    By:        u(~n-~,
                                             The Honorable Matthew J. Skahill
                                             United States Magistrate Judge


  •     Opposed              1k          C/f',k. ~   ofl,'tc,     r' ~   --h/,ftv cJ,.rr, l--t.1
                                              cJ oe, /qJ e"' fJ    //_
  X     Unopposed
                              -krtv1 r-..k




                                               2
